                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE DIRSTRICT OF MASSACHUSETTS

                                       )
SHAWN HARRINGTON, on behalf of himself )
and all others similarly situated,     )
                                       )
                 Plaintiff,            )
                                       )
 v.                                    ) Civil Action No. 1:19-cv-11180-RGS
                                       )
 WELLS FARGO BANK N.A.,                )
                                       )
                 Defendant.            )
                                       )
                                       )

         DECLARATION OF JENNIFER M. KEOUGH REGARDING SETTLEMENT
                             ADMINISTRATION

I, JENNIFER M. KEOUGH, declare and state as follows:

        1.       I am the Chief Executive Officer at JND Legal Administration LLC (“JND”). JND is

a legal administration services provider with its headquarters located in Seattle, Washington. JND has

extensive experience with all aspects of legal administration and has administered settlements in

hundreds of class action cases.

        2.       JND is serving as the Settlement Administrator1 in the above-captioned litigation

(“Action”) for the purposes of administering the Class Action Settlement Agreement (“Settlement

Agreement”) preliminarily approved by the Court in its Order Preliminarily Approving Settlement;

Certifying Settlement Class, Approving Notice; and Setting Date for Final Approval Hearing

(“Preliminary Approval Order”) . This Declaration is based on my personal knowledge, as well as



1
 Capitalized terms used and not otherwise defined herein shall have the meanings given such terms in the Settlement
Agreement.

                                                          1
upon information provided to me by experienced JND employees, and if called upon to do so, I could

and would testify competently thereto.

                                            CLASS MEMBER DATA

          3.      On September 9, 2020, JND received a spreadsheet from the Defendant containing the

names, mailing addresses, telephone numbers, and e-mail addresses, to the extent available, belonging

to 20,757 individuals identified as Settlement Class Members2.

          4.      Prior to commencing the notice mailing, JND updated the contact information for 2,929

Class Member records using data from the National Change of Address (NCOA) database.3 The

Settlement Class Member data was then promptly loaded into a secure database established for this

Action.

                                                   CAFA NOTICE

          5.      In compliance with the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715, JND

          compiled a CD-ROM containing the following documents:

               a. Class Action Complaint and Demand for Jury Trial, filed on April 8, 2019;

               b. First Amended Class Action Complaint and Demand for Jury Trial, filed on May 30,

                  2019;

               c. Motion for Preliminary Approval of Class Action Settlement, filed on September 3,

                  2020;

               d. Memorandum of Law in Support of Motion for Preliminary Approval of Class Action

                  Settlement, filed on September 3, 2020;


2
  Of the 20,757 Class Member records received, JND identified 151 duplicate records (borrowers with more than one
eligible loan during the Class Period). As these individuals are entitled to a share for each eligible loan, the duplicate
records were included in the notice mailing at Defendant’s direction.
3
  The NCOA database is the official United States Postal Service (“USPS”) technology product which makes change of
address information available to mailers to help reduce undeliverable mail pieces before mail enters the stream. This
product is an effective tool to update address changes when a person has completed a change of address form with the
USPS. The address information is maintained on the database for 48 months.


                                                             2
             e. Class Action Settlement Agreement, filed on September 3, 2020, and including the

                proposed Notices, Preliminary Approval Order, and Final Approval Order.

             f. Preliminary Approval Order, filed on September 8, 2020;

             g. List of Class Members by State;

             h. Proportionate Share of Class Members by State.

       6.       The CD-ROM was mailed on September 11, 2020, to the appropriate Federal and State

officials identified in the attachment with an accompanying cover letter, a copy of which is attached

hereto as Exhibit A.

                                          NOTICE MAILING

       7.       Pursuant to the terms of the Settlement Agreement, on October 8, 2020, JND mailed

the Court-approved Postcard Notice via United States Postal Service (“USPS”) first-class mail to the

20,757 Settlement Class Members. A representative copy of the Postcard Notice is attached hereto as

Exhibit B.

       8.       As of the date of this Declaration, JND has tracked 2,036 of these Postcard Notices as

undeliverable. Of the undeliverable Notices, JND re-mailed 413 Postcard Notices to forwarding

addresses provided by the USPS. For the remaining undeliverable Postcard Notices, JND conducted

advanced address skip-trace research and received updated address information for 1,041 Settlement

Class Members. JND promptly re-mailed the Notice to the 1,041 Class Members accordingly, of

which 48 were subsequently returned as undeliverable.

       9.       As of the date of this Declaration, 20,127 Settlement Class Members were mailed a

Postcard Notice that was not returned as undeliverable, representing approximately 97% of the

Settlement Class.




                                                  3
                              TOLL-FREE INFORMATION LINE

       10.     On October 8, 2020, JND established a case-specific toll-free telephone number,

1-888-921-0729, for Settlement Class Members to call to obtain information about the Settlement.

Callers have the option to listen to the Interactive Voice Response (“IVR”) system, or to speak with a

live agent. The toll-free number is accessible 24 hours a day, seven days a week.

       11.     As of the date of this Declaration, the toll-free number has received 223 incoming calls.

                                    SETTLEMENT WEBSITE

       12.      On     October     8,    2020,     JND     established     a    Settlement     Website

(www.HarringtonClass.com), which hosts copies of important case documents (including, but not

limited to, downloadable copies of the Long Form Notice, Settlement Agreement, First Amended

Class Action Complaint, Preliminary Approval Order, and the Motion for an Award of Attorneys’

Fees and Expenses and an Incentive Award to the Named Plaintiff), answers to frequently asked

questions, and contact information for the Settlement Administrator by telephone and mail. The

Settlement Website also allows Class Members to submit address updates electronically. A

representative copy of the Long Form Notice, as it appears on the Settlement Website, is attached

hereto as Exhibit C.

       13.      As of the date of this Declaration, the Settlement Website has tracked 759 unique

users who registered 2,067 pageviews.

                                 REQUESTS FOR EXCLUSION

       14.     The Long Form Notice states that that if any Settlement Class Member would like to

be excluded from the Settlement, the Class Member must submit an exclusion letter to the Settlement

Administrator, postmarked on or before December 7, 2020.




                                                   4
       15.     As of the date of this Declaration, JND has received one (1) exclusion request from

Class Member Michael A. Latino. If JND receives any additional timely exclusion requests, JND will

provide a supplemental declaration to the Parties.

                                           OBJECTIONS

       16.     The Long Form Notice states that any Settlement Class Member who would like to

object to the terms of the Settlement can file an objection to the Clerk of the Court no later than

December 7, 2020.

       17.     As of the date of this Declaration, JND has not received and is not aware of any

objections to the proposed Settlement. If JND receives timely objections, JND will provide a

supplemental declaration to the Parties.

                         ADMINISTRATION COSTS AND EXPENSES

       18.     As of the date of this Declaration, JND has incurred $25,203.15 in administration costs

and expenses. JND estimates that the remaining costs will be approximately $46,095.85, including

work in connection with the initial and supplemental check distributions and administration

completion.




       I declare under the penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on December 3, 2020 at Seattle, Washington.


                                                           JENNIFER M. KEOUGH




                                                     5
EXHIBIT A
September 11, 2020

United States Attorney General
and the Appropriate Officials
Identified in Attachment A


RE: CAFA Notice of Proposed Class Action Settlement

Dear Attorney General or Appropriate State Official:

This Notice is being provided to you in accordance with the Class Action Fairness Act (“CAFA”),
28 U.S.C. § 1715 on behalf of Defendant, Wells Fargo Bank, N.A., in the below-referenced class action
lawsuit (“the Action”). A Class Action Settlement Agreement was submitted for approval to the Court
on September 3, 2020. The Court granted preliminary approval of the Class Action Settlement on
September 8, 2020.

              Case Name:                 Shawn Harrington, et al. v. Wells Fargo Bank, N.A.
              Case Number:               1:19-cv-11180-RGS
              Jurisdiction:              United States District Court for the District of Massachusetts
              Date Settlement filed
              with Court:                September 3, 2020

Copies of all materials filed in the Action are electronically available on the Court’s Pacer website
found at https://pcl.uscourts.gov. Additionally, pursuant to 28 U.S.C. § 1715 (b), the enclosed CD-
ROM contains the following documents filed in the Action:

       01 - Class Action Complaint.pdf
               Class Action Complaint and Demand for Jury Trial, filed on April 8, 2019

       02 - Amended Complaint.pdf
              First Amended Class Action Complaint and Demand for Jury Trial, filed on May 30,
              2019

       03 - Motion for Preliminary Approval.pdf
              Motion for Preliminary Approval of Class Action Settlement, filed on September 3,
              2020

       04 - Memorandum of Law.pdf
              Memorandum of Law in Support of Motion for Preliminary Approval of Class
              Action Settlement, filed on September 3, 2020


       05 - Settlement Agreement.pdf
               Class Action Settlement Agreement, filed on September 3, 2020, and attaching:

                      Exhibit A - Long Form Notice


                      JND Legal Administration  1100 2nd Ave, Suite 300  Seattle, WA 98101
                         Phone 800-207-7160  Fax 206-788-8766  www.JNDLA.com
                      Exhibit B - [Proposed] Preliminary Approval Order

                      Exhibit C - Short Form/Postcard Notice

                      Exhibit D - [Proposed] Final Approval Order

       06 - Preliminary Approval Order.pdf
               Order Preliminarily Approving Settlement; Certifying Settlement Class; Approving
               Notice; and Setting Date for Final Approval Hearing, filed on September 8, 2020

       07 - List of Class Members by State.pdf

       08 - Proportionate Share of Class Members by State.pdf


If you have any questions regarding the details of the case and settlement, please contact Defense
Counsel’s representatives at:

       Sean R. Higgins
       K&L Gates LLP
       One Lincoln Street
       State Street Financial Center
       Boston, MA 02111
       617-261-3100
       Fax: 617-261-3175
       sean.higgins@klgates.com

       For questions regarding this Notice, please contact JND at:

       JND Class Action Administration
       1100 2nd Ave, Suite 300
       Seattle, WA 98101
       Phone: 800-207-7160

Regards,

/s/

JND Legal Administration

Enclosures




                    JND Legal Administration  1100 2nd Ave, Suite 300  Seattle, WA 98101
                         Phone 800-207-7160  Fax 206-788-8766  www.JNDLA.com
  Shawn Harrington, et al. v. Wells Fargo Bank, N.A., Case No. 1:19-cv-11180-RGS (D. Mass.)
                        CAFA Notice – Attachment A – Service List

        Kevin G. Clarkson
                                                                     Steve Marshall
  Office of the Attorney General
                                                             Office of the Attorney General
          1031 W 4th Ave
                                                                  501 Washington Ave
              Ste 200
                                                                Montgomery, AL 36104
      Anchorage, AK 99501


          Leslie Rutledge
                                                                     Mark Brnovich
  Office of the Attorney General
                                                             Office of the Attorney General
           323 Center St
                                                                  2005 N Central Ave
              Ste 200
                                                                  Phoenix, AZ 85004
      Little Rock, AR 72201


        CAFA Coordinator                                               Phil Weiser
  Office of the Attorney General                             Office of the Attorney General
  Consumer Protection Section                                Ralph L. Carr Judicial Building
 455 Golden Gate Ave., Ste 11000                                1300 Broadway, 10th Fl
    San Francisco, CA 94102                                        Denver, CO 80203


                                                                   Kathy Jennings
           William Tong
                                                            Delaware Department of Justice
  Office of the Attorney General
                                                             Carvel State Office Building
         165 Capitol Ave
                                                                 820 N French Street
       Hartford, CT 06106
                                                                Wilmington, DE 19801


          Ashley Moody
                                                                        Chris Carr
  Office of the Attorney General
                                                             Office of the Attorney General
          State of Florida
                                                                    40 Capitol Sq SW
        PL‐01 The Capitol
                                                                   Atlanta, GA 30334
      Tallahassee, FL 32399


                                                                    Thomas J. Miller
        Clare E. Connors
                                                             Office of the Attorney General
Department of the Attorney General
                                                             Hoover State Office Building
        425 Queen Street
                                                             1305 E. Walnut Street Rm 109
       Honolulu, HI 96813
                                                                 Des Moines, IA 50319


       Lawrence G. Wasden                                            Kwame Raoul
           State of Idaho                                    Office of the Attorney General
  Office of the Attorney General                              James R. Thompson Center
  700 W. Jefferson St, Suite 210                                  100 W. Randolph St
          Boise, ID 83720                                          Chicago, IL 60601
  Shawn Harrington, et al. v. Wells Fargo Bank, N.A., Case No. 1:19-cv-11180-RGS (D. Mass.)
                        CAFA Notice – Attachment A – Service List

         Curtis T. Hill, Jr.                                         Derek Schmidt
 Indiana Attorney General's Office                           Office of the Attorney General
Indiana Government Center South                                     120 SW 10th Ave
    302 W Washington St 5th Fl                                            2nd Fl
      Indianapolis, IN 46204                                       Topeka, KS 66612


         Daniel Cameron
                                                                       Jeff Landry
  Office of the Attorney General
                                                             Office of the Attorney General
         Capitol Building
                                                                    1885 N. Third St
     700 Capitol Ave Ste 118
                                                                Baton Rouge, LA 70802
       Frankfort, KY 40601


       CAFA Coordinator
                                                                     Brian E. Frosh
    General Counsel's Office
                                                             Office of the Attorney General
   Office of Attorney General
                                                                     200 St. Paul Pl
       One Ashburton Pl
                                                                 Baltimore, MD 21202
       Boston, MA 02108


                                                                    Dana Nessel
            Aaron Frey
                                                           Department of Attorney General
  Office of the Attorney General
                                                          G. Mennen Williams Building, 7th Fl
       6 State House Station
                                                                  525 W Ottawa St
        Augusta, ME 04333
                                                                 Lansing, MI 48933


           Keith Ellison                                               Eric Schmitt
  Office of the Attorney General                                Attorney General's Office
         445 Minnesota St                                        Supreme Court Building
             Suite 1400                                               207 W High St
       St. Paul, MN 55101                                       Jefferson City, MO 65101


             Lynn Fitch                                                  Tim Fox
  Office of the Attorney General                             Office of the Attorney General
      Walter Sillers Building                                        215 N. Sanders
       550 High St Ste 1200                                    Justice Building, Third Fl
        Jackson, MS 39201                                          Helena, MT 59601


                                                                   Wayne Stenehjem
            Josh Stein
                                                             Office of the Attorney General
    Attorney General's Office
                                                           State Capitol, 600 E Boulevard Ave
        114 W Edenton St
                                                                        Dept. 125
       Raleigh, NC 27603
                                                                  Bismarck, ND 58505
  Shawn Harrington, et al. v. Wells Fargo Bank, N.A., Case No. 1:19-cv-11180-RGS (D. Mass.)
                        CAFA Notice – Attachment A – Service List

                                                                  Gordon MacDonald
          Doug Peterson
                                                             Office of the Attorney General
  Office of the Attorney General
                                                              NH Department of Justice
        2115 State Capitol
                                                                      33 Capitol St.
        Lincoln, NE 68509
                                                                  Concord, NH 03301


         Gurbir S. Grewal
                                                                     Hector Balderas
  Office of the Attorney General
                                                             Office of the Attorney General
Richard J. Hughes Justice Complex
                                                                    P.O. Drawer 1508
  25 Market St 8th Fl, West Wing
                                                                  Santa Fe, NM 87504
        Trenton, NJ 08611


            Aaron Ford                                             CAFA Coordinator
  Office of the Attorney General                             Office of the Attorney General
  Old Supreme Court Building                                          28 Liberty St
         100 N Carson St                                                  15th Fl
     Carson City, NV 89701                                       New York, NY 10005


           Dave Yost
                                                                      Mike Hunter
    Attorney General's Office
                                                             Office of the Attorney General
       State Office Tower
                                                                     313 NE 21st St
      30 E Broad St 14th Fl
                                                              Oklahoma City, OK 73105
     Columbus, OH 43215



      Ellen F. Rosenblum                                              Josh Shapiro
  Oregon Department of Justice                              PA Office of the Attorney General
       1162 Court St NE                                        Strawberry Square 16th Fl
       Salem, OR 97301                                           Harrisburg, PA 17120



                                                                       Alan Wilson
         Peter F. Neronha
                                                             Office of the Attorney General
  Office of the Attorney General
                                                                Rembert C. Dennis Bldg
           150 S Main St
                                                               1000 Assembly St Rm 519
      Providence, RI 02903
                                                                  Columbia, SC 29201


         Jason Ravnsborg
                                                                 Herbert H. Slatery, III
  Office of the Attorney General
                                                             Office of the Attorney General
        1302 E Highway 14
                                                                     301 6th Ave N
                Ste 1
                                                                  Nashville, TN 37243
         Pierre, SD 57501
  Shawn Harrington, et al. v. Wells Fargo Bank, N.A., Case No. 1:19-cv-11180-RGS (D. Mass.)
                        CAFA Notice – Attachment A – Service List

                                                                     Sean D. Reyes
            Ken Paxton
                                                             Office of the Attorney General
  Office of the Attorney General
                                                              Utah State Capitol Complex
          300 W. 15th St
                                                               350 North State St Ste 230
         Austin, TX 78701
                                                               Salt Lake City, UT 84114



         Mark R. Herring                                              T.J. Donovan
  Office of the Attorney General                                Attorney General's Office
         202 N. Ninth St.                                             109 State St.
      Richmond, VA 23219                                         Montpelier, VT 05609



           Bob Ferguson                                                Josh Kaul
  Office of the Attorney General                                Attorney General's Office
      1125 Washington St SE                                        114 E State Capitol
       Olympia, WA 98501                                          Madison, WI 53702



         Patrick Morrisey                                              Bridget Hill
  Office of The Attorney General                             Office of the Attorney General
State Capitol, 1900 Kanawha Blvd E                                 Kendrick Building
        Building 1 Rm E-26                                          2320 Capitol Ave
       Charleston, WV 25305                                      Cheyenne, WY 82002


          Karl A. Racine                                              William P Barr
  Office of the Attorney General                           Office of the U.S. Attorney General
          441 4th St NW                                        U.S. Department of Justice
            Suite 1100 S                                       950 Pennsylvania Ave NW
     Washington, DC 20001                                        Washington, DC 20530


       Ines Carrau Martinez
 Dpto. de Justicia de Puerto Rico
Calle Teniente César González 677
     Esq. Ave. Jesús T. Piñero
        San Juan, PR 00918
EXHIBIT B
                         NOTICE FROM                     Harrington v. Wells Fargo                              PRESORTED
                UNITED STATES DISTRICT FOR               c/o JND Legal Administration                          FIRST-CLASS
                                                                                                                    MAIL
                       THE DISTRICT OF                   PO Box 91344
                                                                                                               U.S. POSTAGE
                      MASSACHUSETTS                      Seattle, WA 98111                                          PAID
                    (not a lawyer solicitation)

A Settlement Agreement has been reached in a class
action lawsuit alleging that Wells Fargo Bank, N.A.
(“Wells Fargo”), violated the law by placing in excess   [NOTICE ID IN DIGITS]
of two telephone calls in a seven day period to          [NOTICE ID IN BARCODE]
Massachusetts consumers to collect a debt regarding
a Wells Fargo automobile loan. Wells Fargo’s records     Postal Service: Please Do Not Mark or Cover Barcode
show that you may be a class member and may be
entitled to payment under the Settlement Agreement
reached in the case.
The Settlement Agreement provides for a settlement       [FIRST1] [LAST1]
fund of $1,025,000.00 to pay Settlement Class            [BUSINESSNAME]
Members, attorney’s fees, costs, any incentive award     [ADDR1] [ADDR2]
to the Class Representative (Shawn Harrington) and       [CITY] [ST] [ZIP]
settlement administration costs. Each Class Member
is entitled to an equal share of the fund. If the
settlement is approved, Settlement Class Members
shall qualify for direct payments from the Settlement
Fund. Your legal rights are affected whether you act
or don’t act so read this notice carefully.
This Postcard Notice contains limited information
about the Settlement. For more information visit
www.Harringtonclass.com
                               Shawn Harrington v. Wells Fargo Bank, N.A., 19-cv-11180 (District of Massachusetts)
    THIS CARD PROVIDES LIMITED INORMATION ABOUT THE SETTLEMENT VISIT www.Harringtonclass.com FOR MORE INFORMATION
In the lawsuit, the Plaintiff alleges that Wells Fargo violated the Massachusetts Consumer Protection Act, M.G.L. c. 93A § 2, et seq.
(“MCPA”), and the Massachusetts Debt Collection Regulations, 940 CMR § 7.00, et seq. (“MDCR”), by placing in excess of two calls
regarding a debt within a seven-day period to Plaintiff and other Massachusetts consumers. Wells Fargo denies any wrongdoing and denies
that it violated the MCPA, the MDCR or any other law. Both sides have agreed to settle the lawsuit to avoid the cost, delay, and uncertainty
of further litigation. You can read Plaintiff’s Complaint, the Settlement Agreement and other case documents at www.Harringtonclass.com.
Who’s Included in the Settlement Class? The individuals who were borrowers on a Wells Fargo Auto loan who may have received
in excess of two telephone calls from Wells Fargo Auto in Massachusetts within a seven-day period to their residence, cellular
telephone, or other telephone number regarding their automobile debt between April 26, 2015, and December 31, 2019, as reflected
on the Class List. There are 20,757 Settlement Class Members.
What Can You Get? If the Settlement Agreement is approved, each of the 20,757 Settlement Class Member will be sent an equal
share of the $1,025,000.00 Settlement Fund after deductions for administrative costs, attorney’s fees and costs and any incentive award
to the named Plaintiff. Class Counsel will request up to one-third of the Settlement Fund in attorney’s fees and costs and up to $7,500
as an incentive award to the named Plaintiff for his services on behalf of the Settlement Class. If some Settlement Class Members do
not cash the Initial Settlement Check, those uncashed funds will be distributed equally in a Second Settlement Check to all Settlement
Class Members who did cash their first check.
The Settlement is explained in detail in the Full Notice and in the Settlement Agreement available at www.Harringtonclass.com.
How to Get Money? You do not need to do anything to recover. If the Settlement Agreement is approved payments will be made
directly to Settlement Class Members.
Your Other Rights. If you do not want to be legally bound by the Settlement, you must exclude yourself by December 7, 2020 or you
will not be able to sue the Defendants for any claims relating to this case. If you exclude yourself, you cannot get money from this
Settlement. If you stay in the Settlement Class, you may object to the Settlement by December 7, 2020. The Full Notice, located at the
website listed below, explains how to exclude yourself from, or object to, the Settlement. The Court will hold a hearing in this case on
December 17, 2020 at 2:00 p.m. to consider whether to approve the Settlement, Plan of Allocation, and a request by the lawyers
representing all Class Members for fees and for reimbursement of expenses for litigating the case and negotiating the Settlement. You may
attend the hearing and ask to be heard by the Court, but you do not have to. If you do not take any action, you will be legally bound by
the Settlement and any orders or Judgments entered in the Action, and will fully, finally, and forever give up any rights to prosecute
Released Claims.
                       For more information or a Claim Form, call 1-888-921-0729 or visit www.Harringtonclass.com
                                   Do not contact the Court, Defendant or its counsel with questions.
EXHIBIT C
UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
---------------------------------------------------------------X

Shawn Harrington, on behalf of himself and all others
similarly situated,

                          Plaintiff,
        v.

Wells Fargo Bank, N.A.

                           Defendant.
---------------------------------------------------------------X
                                          NOTICE REGARDING
                                       CLASS ACTION SETTLEMENT

A Settlement Agreement has been reached in a class action lawsuit alleging that Wells Fargo Bank,
N.A. (“Wells Fargo”) violated the law by placing in excess of two telephone calls in a seven day
period to Massachusetts consumers to collect a debt regarding a Wells Fargo automobile loan.
Wells Fargo’s records show that you may be a class member under the Settlement Agreement
reached in the case.

The Settlement Agreement provides for a settlement fund of $1,025,000.00 to pay Settlement Class
Members, attorney’s fees, costs, any incentive award to the Class Representative (Shawn
Harrington) and settlement administration costs. If the settlement is approved, Settlement Class
Members shall qualify for direct payments from the Settlement Fund. Your legal rights are
affected whether you act or don’t act so read this notice carefully.

                                            YOUR OPTIONS
 Option 1:                              Do nothing and recover from the Settlement Fund
 Do Nothing                             If the Settlement Agreement is approved by the Court,
                                        Settlement Class Members will receive direct equal payments
                                        from Settlement Fund. Settlement Class Members do not
                                        need to submit any claim to recover.
 Option 2:                              Get out of this lawsuit and get no benefits from it
 Ask to be Excluded                     You may ask to be excluded from the lawsuit. By excluding
 Deadline: December 7, 2020             yourself, you cannot recover as part of this settlement and
                                        you keep a right to sue on your own.
 Option 3: Object                       Object to the terms of the Settlement Agreement
 Deadline: December 7, 2020             You may object to the terms of the Settlement Agreement and
                                        have your objections heard at the Fairness Hearing to be held
                                        on December 17, 2020. If you object to the Settlement
                                        Agreement you do remain part of the Settlement Class.



              Questions? Visit www.Harringtonclass.com or call toll-free at 1-888-921-0729
  1.      What is this lawsuit about?

In the lawsuit, the Plaintiff alleges that Wells Fargo violated the Massachusetts Consumer
Protection Act, M.G.L. c. 93A § 2, et seq. (“MCPA”), and the Massachusetts Debt Collection
Regulations, 940 CMR § 7.00, et seq. (“MDCR”), by placing in excess of two calls regarding a
debt within a seven-day period to Plaintiff and other Massachusetts consumers.
Wells Fargo denies any wrongdoing and denies that it violated the MCPA, the MDCR or any
other law.
Both sides have agreed to settle the lawsuit to avoid the cost, delay, and uncertainty of further litigation.
You can read Plaintiff’s Complaint, the Settlement Agreement and other case documents at
www.Harringtonclass.com.

  2.      Why is this a class action?

In a class action, a Class Representative (in this case, Plaintiff Shawn Harrington) sues on behalf
of a group (or a “Class”) of people. Here, the Class Representative sued on behalf of people who
have similar claims regarding allegedly excessive debt collection calls.

  3.      Why is there a settlement?

To avoid the cost, risk, and delay of litigation, the Parties reached a settlement agreement as to
Plaintiff’s and the Class claims.

  4.      How do I know if I am a part of the settlement?

For settlement purposes, the Court has certified a Class consisting of all people who meet the
following definition:
        The individuals who were borrowers on a Wells Fargo Auto loan who may have
        received in excess of two telephone calls from Wells Fargo Auto in Massachusetts
        within a seven-day period to their residence, cellular telephone, or other telephone
        number regarding their automobile debt between April 26, 2015, and
        December 31, 2019, as reflected on the Class List.
There are 20,757 Settlement Class Members.

  5.      How do I recover?

You do not need to do anything to recover. If the Settlement Agreement is approved, the
Settlement Fund, minus administrative costs, attorney’s fees and costs and any incentive award to
the named Plaintiff, will be distributed by a mailed check directly to Settlement Class Members in
an equal amount.



                                                  2
              Questions? Visit www.Harringtonclass.com or call toll-free at 1-888-921-0729
If some Settlement Class Members do not cash the Initial Settlement Check, those uncashed funds
will be distributed equally in a Second Settlement Check to all Settlement Class Members who did
cash their first check.
If any amounts are remaining from the uncashed Second Settlement Checks, those amounts will
be provided to a charitable organization. The parties have recommended the Commonwealth of
Massachusetts United Ways.

  6.     What am I giving up to receive these benefits?

By staying in the Class, all of the Court’s orders will apply to you, and you give a “release” for
any claims arising from allegedly excessive telephone calls to you. A release means you cannot
sue or be part of any other lawsuit against Wells Fargo and the Released Parties about the claims
or issues in this lawsuit and you will be bound by the Settlement Agreement.

  7.     How much will the Class Representative receive?

The Class Representative will receive his portion of the settlement as a Class Member and an
incentive award for having pursued this action. Any incentive payment is subject to Court
Approval. The Class Representative will request an Incentive Award of $7,500.

  8.     Do I have a lawyer in this case?

To represent the class, the Court has appointed attorneys with the law firm of Lemberg Law, LLC,
43 Danbury Road, Wilton, CT 06897 as “Class Counsel.”
Class Counsel will request an award of attorney’s fees of no more than 33% of the Settlement Fund
and for reimbursement of expenses. Any attorney’s fee and expense award is subject to Court
Approval. You may hire your own attorney, but only at your own expense.

  9.     I don’t want to be part of this case, how do I ask to be excluded?

Answer: Send a Request to Be Excluded.
If you don’t want a payment from this settlement, but you want to keep the right to individually
sue the Defendant about the issues in this case, then you must take steps to get out of the settlement.
This is called excluding yourself, or “opting out”, of the Settlement Class. To request to exclude
yourself, you must send a letter by mail with (a) the Requester’s full name, address, and the name
of the Action and telephone number; (b) the Requester’s personal and original signature, or the
original signature of a person previously authorized by law, such as a trustee, guardian, or person
acting under a valid power of attorney, to act on behalf of the Requester; and (c) state
unequivocally that the Requester desires to be excluded from the Settlement Class, to be excluded
from the Settlement, not to participate in the Settlement, and/or to waive all rights to the benefits
of the Settlement.
You must mail your exclusion request postmarked no later than December 7, 2020 to Harrington
v. Wells Fargo, c/o JND Legal Administration, P.O. Box 91344, Seattle, WA 98111.

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             Questions? Visit www.Harringtonclass.com or call toll-free at 1-888-921-0729
  10.    How do I object?

Any Settlement Class Member who has not requested to be excluded from the Settlement Class
may object to the Settlement. In order to exercise this right, you must submit your objection to the
Court by the Objection Deadline. Your objection must (i) set forth the Settlement Class Member’s
full name, current address, and telephone number; (ii) contain the Settlement Class Member’s
original signature or the signature of counsel for the Settlement Class Member; (iii) state that the
Settlement Class Member objects to the Settlement, in whole or in part; (iv) set forth the complete
legal and factual bases for the Objection, including citations to relevant authorities; (v) provide
copies of any documents that the Settlement Class Member wishes to submit in support of his/her
position; and (vi) state whether the objecting Settlement Class Member intends on appearing at the
Final Approval Hearing either pro se or through counsel and whether the objecting Settlement
Class Member plans on offering testimony at the Final Approval Hearing.
Any Class Member that fails to do object in the manner set forth herein shall be foreclosed from
making such objection or opposition, by appeal, collateral attack, or otherwise and shall be bound
by all of the terms of this Settlement upon Final Approval and by all proceedings, orders and
judgments, including but not limited to the Release in the Action.
Objections must be filed with the Clerk of the Court, and delivered or postmarked no later than
December 7, 2020.
The Court’s address is: Clerk of the Court, District of Massachusetts, 1 Courthouse Way, Suite
2300, Boston, Massachusetts 02210.


                                      The Fairness Hearing
The Court will hold a fairness hearing on December 17, 2020 in the courtroom of the Honorable
Richard G. Stearns, U.S. Courthouse, District of Massachusetts, 1 Courthouse Way, Suite 2300,
Boston, Massachusetts 02210. The purpose of the hearing will be for the Court to determine
whether the proposed settlement is fair, reasonable, and adequate and in the best interests of the
Class and to rule on applications for compensation for Class Counsel and an incentive award for
the Class Representative. At that hearing, the Court will be available to hear any objections and
arguments concerning the fairness of the proposed settlement.


YOU ARE NOT REQUIRED TO ATTEND THIS HEARING TO BENEFIT FROM THIS
SETTLEMENT. The hearing may be postponed to a later date without notice.



                                 FOR MORE INFORMATION
Additional information and documents, including case documents, are available at
www.Harringtonclass.com, or you can call 1-888-921-0729.




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            Questions? Visit www.Harringtonclass.com or call toll-free at 1-888-921-0729
